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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF OKLAHOMA


 UNITED STATES OF AMERICA,                         )
                                                   )
                Plaintiff,                         )
                                                   )
 vs.                                               )           Case No. 05-CR-91-005-TCK
                                                   )           (08-CV-88-TCK-TLW)
 CURTIS DEON JONES,                                )
                                                   )
                Defendant.                         )


                                      OPINION AND ORDER

         Before the Court is the Government’s Motion to Dismiss Amended § 2255 Motion (Doc.

 921).

 I.      Background

         On December 19, 2005, a federal grand jury returned a multiple-count Superseding

 Indictment, which charged Defendant and nine other co-defendants in a racketeering conspiracy.

 (See Doc. 247.) On October 17, 2006, Defendant entered a plea of guilty to Count One of the

 Superseding Indictment, charging him with Racketeering Conspiracy in violation of 18 U.S.C. §§

 1962(d) and 1963. (See Doc. 729.) Defendant’s plea was made before Magistrate Judge Sam A.

 Joyner (“Magistrate Joyner”) and was pursuant to a Plea Agreement with the Government. (See id.;

 Doc. 729-2.) As part of the Plea Agreement, Defendant waived his right to a direct appeal and to

 collaterally attack the conviction and sentence under 28 U.S.C. § 2255, except for ineffective

 assistance of counsel claims challenging the validity of the plea or the rights waiver. (See Doc. 729-

 2 at 3.) Also included in the Plea Agreement was an admission by Defendant that he shot an

 individual by the name of James Stewart (“Stewart”) in conjunction with his gang activities. (See

 id. 6.) Defendant further stated that he was involved in the shooting of Stewart during his plea
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 colloquy before Magistrate Joyner. (Tr. Plea Hr’g 15:18-22.) On January 3, 2007, this Court

 sentenced Defendant to 260 months imprisonment, which was within the advisory sentencing

 guidelines range of 210 to 262 months. (See Docs. 771 (Minutes of Sentencing), 788 (Judgment and

 Commitment).) Also during the sentencing, the Court ordered Defendant to participate in an anger

 management program. (See Doc. 771.) Defendant appealed his conviction to the Tenth Circuit,

 despite having waived his right to do so under the Plea Agreement. After reviewing the Plea

 Agreement and transcripts of the plea and sentencing hearings, the Tenth Circuit held that Defendant

 had waived his right to appeal and dismissed Defendant’s appeal. See United States v. Jones, 236

 Fed. Appx. 449, 450 (10th Cir. 2007).

        On February 19, 2008, Defendant, appearing pro se, filed a § 2255 motion (Doc. 806),

 identifying the following grounds: (1) ineffective assistance of counsel due to coerced and

 involuntary plea; (2) ineffective assistance of counsel due to incriminating statements made by

 counsel during sentencing; (3) ineffective assistance of counsel for failure to conduct an inquiry into

 Defendant’s mental competency; and (4) ineffective assistance of counsel for failure to make a claim

 of insufficient evidence and abandonment of a viable defense. The Court denied Defendant’s § 2255

 motion, which Defendant appealed. The Tenth Circuit subsequently denied Defendant’s request for

 a certificate of appealability and dismissed his appeal, finding that Defendant failed to make a

 substantial showing of the denial of a constitutional right.

        On January 7, 2011, Defendant filed two motions: (1) “Motion to Vacate Guilty Plea

 F.R.Crim.P.11(f) Caused by Fraud on the Court by the U.S. Attorney, Denial of Exculpatory

 Evidence” (Doc. 910); and (2) “Amended Motion Under § 2255 Via F.R.Civ.P. 15(c)(2) to Vacate,

 Set Aside or Correct a Sentence by a Person in Federal Custody” (Doc. 912) (collectively “Second


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 § 2255 Motion”). Therein, Defendant argues that: (1) his counsel was ineffective for failing to file

 a timely notice of appeal from his sentencing; (2) his counsel was ineffective for failing to

 investigate facts relating to the murder of Stewart; (3) the Government caused a fraud upon the

 Court by failing to reveal “exculpatory evidence” – namely, that “Paul Ronnie Summer pled guilty

 to this murder, case No. CF-06-4813, in Tulsa County District Court on October 12, 2006,” (Doc.

 910 at 1); (4) his counsel was ineffective for failing to raise sentencing guideline claims; and (5)

 Defendant was denied the right to appeal an illegal sentence. The Government now moves to

 dismiss Defendant’s Second § 2255 Motion, arguing that this Court lacks jurisdiction to address its

 merits.

 II.       Discussion

           “A prisoner may not file a ‘second or successive’ motion under § 2255 unless it is ‘certified

 . . . by a panel of the appropriate court of appeals to contain . . . newly discovered evidence . . . or

 . . . a new rule of constitutional law, made retroactive to cases on collateral review by the Supreme

 Court, that was previously unavailable.’” United States v. Nelson, 465 F.3d 1145, 1147 (10th Cir.

 2006) (citing 28 U.S.C. § 2255, ¶ 8.) When, as here, a defendant fails to obtain such certification,

 the district court may either dismiss the successive motion for lack or jurisdiction, or, if it is in the

 interest of justice, transfer the matter to the appellate court pursuant to 28 U.S.C. 1631.1 See In re

 Cline, 531 F.3d 1249, 1252 (10th Cir. 2008). The district court should consider the following factors

 in deciding whether a transfer is in the interest of justice:




           1
          Section 1631 of Title 28 of the United States Code outlines the means by which a court may
 transfer an action to “cure want of jurisdiction.”

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        whether the claims would be time barred if filed anew in the proper forum, whether
        the claims alleged are likely to have merit, and whether the claims were filed in good
        faith or if, on the other hand, it was clear at the time of filing that the court lacked the
        requisite jurisdiction.

 Id. at 1251.

        After consideration of these factors, the Court finds that transferring Defendant’s Second §

 2255 Motion is not in the interest of justice. Specifically, Defendant’s arguments in relation to

 Stewart’s death and Paul Summer’s plea of guilty were raised in his initial § 2255 motion and

 previously rejected by this Court. (See Doc. 898 at 12-13.) Defendant fails to assert any newly

 discovered evidence, and there is accordingly no indication that his arguments carry any merit. See

 Kostelec v. United States, No. 08-20126-CM, 2011 WL 5868131, at *2 (D. Kan. Nov. 22, 2011)

 (dismissing successive § 2255 motion when petitioner made no mention of newly acquired evidence

 and his arguments “mostly reassert[ed] the claims made in his first § 2255 motion” that had been

 previously rejected by the court); United States v. Solarin, No. 05-cr-00311-CMA, 2011 WL 65922,

 at *3 (D. Colo. Jan. 6. 2011) (dismissing successive § 2255 motion when “[t]he issues raised in

 [d]efendant’s motions ha[d] been fully litigated [and rejected by the district court and the Tenth

 Circuit]”).

        Further, with regard to Defendant’s argument that his counsel was ineffective for failing to

 file a notice of appeal, the Court finds this argument also has no merit, as Defendant’s counsel did

 in fact file a notice of appeal. (See Doc. 785.) Finally, with regard to Defendant’s contention that

 his counsel rendered ineffective assistance at sentencing by failing to raise unspecified sentencing

 guideline arguments, Defendant failed to raise this claim within the one-year statute of limitations.

 Although a court may, in its discretion, allow an untimely amendment to a § 2255 motion to relate

 back to the date of the timely filed original motion, it may do so only if the proposed amendment

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 does not seek to add a new claim or insert a new theory into the case. See United States v. Espinoza-

 Saenz, 235 F.3d 501, 505 (10th Cir. 2000). Here, because Defendant’s assertion of ineffective

 assistance of counsel at sentencing raises a new claim that is unrelated to the claims in his initial §

 2255 motion, it does not relate back and is therefore untimely.

 III.   Conclusion

        For the reasons outlined herein, the Government’s Motion to Dismiss Amended § 2255

 Motion (Doc. 921) is GRANTED, and Defendant’s Second § 2255 Motion (Docs. 910 and 912) are

 dismissed. Further, Defendants Motion for a Nunc Pro Tunc Appeal (Doc. 924), Motion for

 Judgment on the Pleadings (Doc. 928), Motion to Receive Copy of Plea Agreement (Doc. 930),

 Motions for Default Judgment (Doc. 934 and 935), and Request for Appointment of Counsel (Doc.

 959) are DENIED AS MOOT.



        DATED THIS 30th day of May, 2012.




                                                TERENCE C. KERN
                                                UNITED STATES DISTRICT JUDGE




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